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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       July 14, 2021

Via Email
Steven Kiersh
Counsel for John Earle Sullivan
5335 Wisconsin Avenue, N.W., Suite 440
Washington, D.C. 20015
skiersh@aol.com

       Re:      United States v. John Earle Sullivan
                Case No. 1:21-cr-00078-EGS

Dear Counsel:

        The enclosed letter memorializes the provision of the following additional discovery in
this case, via filesharing, on July 14, 2021:

             1. Excerpts of Metropolitan Police Department body worn camera footage
                from Upper House Door exit (24 videos)
             2. Open-source videos of shooting (6 files):
                   a. ITV video
                   b. 2 videos of shooting
                   c. CSPAN video excerpt from https://www.c-
                        span.org/video/?507745-1/protesters-breach-us-capitol-security
                    d. Rumble Nemos News video
                    e. Unblocked video excerpt from Youtube link
                        https://www.youtube.com/watch?v=CSF5FHIGlbg
             3. MARKED SENSITIVE: Videos obtained from other Capitol
                investigations (15 files):
                    a. D-2 – 3 photographs, 1 video
                    b. D-3 – 3 videos
                    c. D-4 – 1 video
                    d. D-5 – 1 video
                    e. D-6 – 1 video
                    f. D-7 – 1 video
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                g. D-8 – 1 video
                h. W-4 – 2 videos
                i. W-5 – 1 video
           4. MARKED SENSITIVE: Officer interview transcripts (2 files)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is being provided pursuant to the Protective Order issued in this case.
Please adhere to sensitivity markings.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,




                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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